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                                                                                         CLOSED,FPD
                                                                                       Email All Attys
                                                                 Email All Attys and Secondary Emails
                  US District Court Electronic Case Filing System
                              District of Utah (Central)
              CRIMINAL DOCKET FOR CASE #: 2:25−mj−00316−JCB−1

  Case title: USA v. Ratliff                                  Date Filed: 03/26/2025

                                                              Date Terminated: 04/01/2025

  Assigned to: Magistrate Judge
  Jared C. Bennett

  Defendant (1)
  John Reich Ratliff                    represented by Nathan K. Phelps
  TERMINATED: 04/01/2025                               FEDERAL PUBLIC DEFENDER
                                                       DISTRICT OF UTAH
                                                       46 W BROADWAY STE 110
                                                       SALT LAKE CITY, UT 84101
                                                       (801)524−4010
                                                       Email: nathan_phelps@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Public Defender or Community
                                                       Defender Appointment
                                                       Bar Number:
                                                       Bar Status: Federal

  Pending Counts                                      Disposition
  None

  Highest Offense Level (Opening)
  None

  Terminated Counts                                   Disposition
  None

  Highest Offense Level
  (Terminated)
  None

  Complaints                                          Disposition
  /

                                                                                                         1
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  Plaintiff
  USA                                            represented by Carlos A. Esqueda
                                                                US ATTORNEY'S OFFICE
                                                                111 S MAIN ST STE 1800
                                                                SALT LAKE CITY, UT 84111−2176
                                                                (801) 524−5682
                                                                Email: carlos.esqueda@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Assistant US Attorney
                                                                Bar Number: 5386
                                                                Bar Status: Federal

   Date Filed   #    Docket Text
   03/26/2025    1   Arrest (Rule 5) of John Reich Ratliff Warrant out of the USDC Central District of
                     California. Assigned to Magistrate Judge Jared C. Bennett (Attachments: # 1
                     Warrant)(reb) (Entered: 03/26/2025)
   03/26/2025    2   ORDER SETTING HEARING OR TRIAL as to John Reich Ratliff.

                     Initial Appearance − Rule 5 set for 3/27/2025 at 11:30 AM in Rm 8.400 before
                     Magistrate Judge Jared C. Bennett.

                     Signed by Magistrate Judge Jared C. Bennett on 3/26/2025.(reb) (Entered:
                     03/26/2025)
   03/27/2025    3   AMENDED ORDER SETTING HEARING OR TRIAL as to John Reich Ratliff.
                     Initial Appearance − Rule 5 set refor 4/1/2025 at 11:00 AM in Rm 8.400 before
                     Magistrate Judge Dustin B. Pead. Signed by Magistrate Judge Jared C. Bennett on
                     3/27/25.(ksm) (Entered: 03/27/2025)
   03/28/2025    4   MOTION for Writ of Habeas Corpus ad prosequendum by USA as to John Reich
                     Ratliff. (alf) (Entered: 03/28/2025)
   03/28/2025    5   DOCKET TEXT ORDER granting 4 Motion for Writ of Habeas Corpus ad
                     prosequendum as to John Reich Ratliff (1). Signed by Magistrate Judge Jared C.
                     Bennett on 3/28/2025. No attached document. (alf) (Entered: 03/28/2025)
   03/28/2025    6   Writ of Habeas Corpus ad Prosequendum Issued as to John Reich Ratliff for 4/1/2025
                     11:00 a.m. before Magistrate Judge Dustin B. Pead. (alf) (Entered: 03/28/2025)
   03/31/2025    9   MOTION for Writ of Habeas Corpus ad prosequendum by USA as to John Reich
                     Ratliff. (alf) (Entered: 04/01/2025)
   03/31/2025   10   DOCKET TEXT ORDER granting 9 Motion for Writ of Habeas Corpus ad
                     prosequendum as to John Reich Ratliff (1). Signed by Magistrate Judge Jared C.
                     Bennett on 3/31/2025. No attached document. (alf) (Entered: 04/01/2025)
   03/31/2025   11   Writ of Habeas Corpus ad Prosequendum Issued as to John Reich Ratliff for 4/1/2025
                     11:00 a.m. before Magistrate Judge Dustin B. Pead. (alf) (Entered: 04/01/2025)



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  04/01/2025   7    **RESTRICTED − Level 2** PRETRIAL SERVICES REPORT as to John Reich
                    Ratliff (bos) (Entered: 04/01/2025)
  04/01/2025   12   Minute Entry for proceedings held before Magistrate Judge Dustin B. Pead: Initial
                    Appearance in Rule 5/5.1 Proceedings as to John Reich Ratliff held on 4/1/2025.
                    Defendant present with counsel and in custody. Rights and penalties are explained.
                    Defendant moves for counsel be appointed. Financial affidavit submitted and reviewed
                    by the Court. The Court grants the motion and appoints FPD counsel, Nathan Phelps.
                    Waiver of Identity Hearing is entered on the record. Defendant submits to the issue of
                    detention for resolution in the charging district. For the reasons stated on the record,
                    the Court orders defendant detained in USMS custody for transportation to the Central
                    District of California. Attorney for Plaintiff: Carlos Esqueda, Attorney for Defendant:
                    Nathan Phelps, FPD. Interpreter: Not Needed. Probation Officer: Eli Ernst. Recording:
                    Electronic. (Time Start: 11:05:22, Time End: 11:08:46, Room 8.400). (tls) (Entered:
                    04/01/2025)
  04/01/2025   13   Oral MOTION to Appoint Counsel filed by John Reich Ratliff. (tls) (Entered:
                    04/01/2025)
  04/01/2025   14   DOCKET TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to
                    John Reich Ratliff Nathan K. Phelps for John Reich Ratliff appointed. No attached
                    document.

                    Representation shall continue for any post−sentencing activities initiated by the US
                    Probation Office. Signed by Magistrate Judge Dustin B. Pead on 04/01/2025. (tls)
                    (Entered: 04/01/2025)
  04/01/2025   15   **RESTRICTED − Level 3** CJA 23 Financial Affidavit filed by John Reich Ratliff
                    (tls) (Entered: 04/01/2025)
  04/01/2025   16   WAIVER of Rule 5(c)(3) Hearing by John Reich Ratliff (tls) (Entered: 04/01/2025)
  04/01/2025   17   COMMITMENT TO ANOTHER DISTRICT as to John Reich Ratliff. Defendant
                    committed to District of Central District of California. Signed by Magistrate Judge
                    Dustin B. Pead on 04/01/2025.(tls) (Entered: 04/01/2025)




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             Case 2:25-mj-00316-JCB                  Document 18           Filed 04/01/25        PageID.43         Page 4 of 47
     AO 91 (Rev. 11/11) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
       03/18/2025                                                   for the
                                                        Central District
                                                      __________         of of
                                                                  District  California
                                                                               __________                           03/18/25
              MC
                       United
                       U i dS States of America                        )                                                    KC

                                  v.                                   )
                                                                       )       Case No.
                           John Reich Ratliff                          )                  5:25-mj-00137-DUTY
                                                                       )
                                                                       )
                                                                       )
                               Defendant(s)


  CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
      On or about the date(s) of                November 4, 2020              in the county of                San Bernardino     in the
           Central          District of           California       , the defendant(s) violated:

                 Code Section                                                    Offense Description
      18 U.S.C. Section 1542                        False Statement in Application for a Passport.




              This criminal complaint is based on these facts:
     See attached affidavit.




              ✔ Continued on the attached sheet.
              u

                                                                                                        /s/
                                                                                                  Complainant’s signature

                                                                                            David Collier, Special Agent
                                                                                                   Printed name and title

       $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\WHOHSKRQH


     Date:    March 18, 2025
                                                                                                     Judge’s signature

     City and state:                      Riverside, California                       Honorable Sheri Pym, Magistrate Judge
                                                                                                   Printed name and title

$86$ Peter Dahlquist; Miles Robin

                                                                                                                                          4
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                                 AFFIDAVIT
      I, David Collier, being duly sworn, declare and state as

follows:

                         I. PURPOSE OF AFFIDAVIT

       1.   This affidavit is made in support of a criminal

 complaint and arrest warrant against John Reich Ratliff

 (“RATLIFF”), who submitted a passport application in the name of

 “Michael John Johannes” on November 4, 2020, for a violation of

 Title 18, United States Code, Section 1542 (False Statement in

 Application for a Passport).

       2.   The facts set forth in this affidavit are based upon

 my personal observations, my training and experience, and

 information obtained from various law enforcement personnel and

 witnesses.    This affidavit is intended to show merely that there

 is sufficient probable cause for the requested complaint and

 arrest warrant and does not purport to set forth all of my

 knowledge of or investigation into this matter.            Unless

 specifically indicated otherwise, all conversations and

 statements described in this affidavit are related in substance

 and part only.

                         II. BACKGROUND OF AFFIANT

       3.   I am a Special Agent with the Department of State

 Diplomatic Security Service (“DSS”), currently assigned to the

 Los Angeles Field Office.      DSS Special Agents are empowered

 under Title 22, United States Code, Section 2709 to investigate

 passport and visa fraud.




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       4.   I have been employed by DSS for two years.              Prior to

 being employed with DSS, I was a Special Agent with the

 Department of the Army Criminal Investigation Division.               I am a

 graduate of the Federal Law Enforcement Training Center’s

 Criminal Investigator Program, the Department of State’s Basic

 Special Agent Course, and the Department of the Army’s Basic

 Special Agent Course.      I receive ongoing training in the laws,

 rules, and regulations concerning passports.

                    III. SUMMARY OF PROBABLE CAUSE
       5.   On November 4, 2020, RATLIFF, purporting to be

 “Michael John Johannes,” submitted Form DS-11, an Application

 for a U.S. Passport, at the Post Office in Crestline,

 California.    As proof of identity and citizenship as “Michael

 John Johannes,” RATLIFF presented a U.S. Virgin Islands birth

 certificate and a U.S. Virgin Islands driver’s license.               From

 communications with officials in the U.S. Virgin Islands, I

 learned that both the birth certificate and driver’s license

 were fraudulent.

       6.   RATLIFF applied for the passport at the same time

 Kenneth Ratliff applied for a passport.          Kenneth Ratliff and

 RATLIFF listed the same mother on their applications, Yvonne

 Reich Ratliff.    Kenneth Ratliff presented a Utah driver’s

 license as part of the application.         While investigating the

 true identity of “Michael John Johannes,” I discovered a booking

 photograph of RATLIFF from a 2016 arrest in Cache County, Utah.

 The booking photograph of RATLIFF appears to be the same person




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 in the passport photograph for the application in the name of

 “Michael John Johannes.”

                    IV. STATEMENT OF PROBABLE CAUSE
       7.   Based on my review of law enforcement reports,

 conversations with other law enforcement agents, and my own

 knowledge of the investigation, I am aware of the following:

      A.    RATLIFF Applied for Passport and Fraud Prevention
            Manager Referred the Application to DSS

      8.    On November 4, 2020, an individual purporting to be
“Michael John Johannes” submitted Form DS-11, an Application for

a U.S. Passport with control number 781132563, at the U.S. Post

Office in Crestline, California, within San Bernardino County.

As proof of identity and citizenship, the applicant submitted a

U.S. Virgin Islands Birth Certificate in the name of “Michael

John Johannes” with a number ending in 1670 and a U.S. Virgin

Islands driver’s license in the name of “Michael John Johannes”

with a number ending in 896.       The El Paso Passport Office Fraud

Prevention Manager suspected the driver’s license and the birth

certificate the applicant provided with his application were

fraudulent and referred the case to DSS for further

investigation.

      9.    The El Paso Passport Office Fraud Prevention Manager

used facial recognition software to review the passport picture

RATLIFF provided as part of his passport application.               Facial

recognition returned a “positive result” for a picture of

“Eugene Schoeman” from a Non-Immigrant Visa in 2005.                The

passport picture of RATLIFF and the 2005 picture of the Non-



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Immigrant Visa does appear to have similarities, including the

ears and nose, but the 2005 picture depicts a much younger,

thinner man so it is hard to tell whether it is the same person

just based comparing the images. Initially, I investigated

whether RATLIFF’s true name was “Eugene Schoeman,” based on the

facial recognition result, but during the course of the

investigation, I concluded the individual purporting to be

“Michael John Johannes” was convicted as RATLIFF in Utah as

outlined further below.

      B.    Identification Was Fraudulent and Facial Recognition
            Matches Picture of Non-Immigrant Visa Recipient

      10.   The birth certificate and the driver’s license list

the island of St. John, one of the U.S. Virgin Islands, as the

location of birth and residence.           The birth certificate

submitted with the application listed the “Department of Social

and Health Services” and a hospital of “Our Lady of Lourdes.”

According to the Jose Balado, Department of State, San Juan

Passport Agency Fraud Prevention Manager (who covers the U.S.

Virgin Islands), the “Department of Social and Health Services”

does not exist on the U.S. Virgin Islands and “Our Lady of

Lourdes” hospital never existed on St. John.            The driver’s

license RATLIFF submitted had a street number listed on the

address, however, according to Jose Balado, the U.S. Virgin

Islands does not include street numbers on addresses, only the

street name.

      11.   On December 16, 2020, the Office of the Lieutenant

Governor of the U.S. Virgin Islands verified there was no record



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of birth for “Michael Johannes” on the island.            The verification

document further stated the address listed on the driver’s

license was not a valid address on the island of St. John.               The

document also stated the name of the medical clinic on St. John

was Myrah Keating Smith Community Health Center, not “Our Lady

of Lourdes” hospital.

       12.   As part of the application, RATLIFF provided a photo

to be used in the passport along with the completed DS-11.

       13. RATLIFF applied for the passport at the same time as

 Kenneth Ratliff applied for a passport.          Kenneth Ratliff and

 RATLIFF listed the same mother on their DS-11, Yvonne Reich

 Ratliff.    Kenneth Ratliff presented a Utah driver’s license as

 part of the application.

       14. While investigating the identity of the applicant who

 submitted a passport application in the name of “Michael John

 Johannes,” I found a news article with information on an arrest

 record of RATLIFF.      I requested a copy of the arrest record and

 booking photograph from the Cache County Sheriff’s Office.              I

 received a copy of the booking photograph from Janet Baker,

 Cache County Sheriff’s Office Records.          The photograph of

 RATLIFF appeared to be the same individual depicted in the

 passport photograph submitted with the passport application for

 “Michael John Johannes”:

 ///

 ///

 ///




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          Photograph from 2020 DS-11          2016 Booking Photograph

         15.   Reviewing the images, the similarities are most

 apparent to me in the curve of the nose, shape of the nose, the

 chin, the complexion, and style of the hair.

         16.   The news article, and subsequent verification through

 the files of the Utah Identification Bureau, revealed RATLIFF

 was arrested in 2016.          RATLIFF was convicted of felony

 possession of a forgery device, and misdemeanor failure to

 disclose his identity and interfering with an arresting officer.

         17.   I received a copy of the police report related to the

 2016 arrest from the Logan County Police Department Records

 unit.    The police report, number 16-L1265, noted the following:

               a.    A complainant called saying an intoxicated male

 was knocking and trying to enter the complainant’s home.                  When

 police arrived, they identified a male on the porch who appeared

 intoxicated.       The man was arrested and searched, which revealed



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 a U.S. Virgin Island’s driver’s license in the name of “John

 Michael Goodson,” and credit cards in the name of “Ken Ratliff.”

             b.   The officer knew Ken Ratliff and contacted Ken,

 who claimed he was a friend of John Goodson.           Booking deputies

 identified the person’s real identity as RATLIFF, and a follow

 up investigation by the investigating officer revealed the U.S.

 Virgin Island’s driver’s license did not match the American

 Association of Motor Vehicle Administrators ID check guide for

 the year it claimed to be issued.

             c.   The officer noted phone conversations between

 RATLIFF and Kenneth while RATLIFF was in jail, at which time

 RATLIFF and Kenneth referenced each other as brothers, but

 RATLIFF told Kenneth to refer to him as John Goodson and say

 they were business partners.

      18.    The Utah Identification Bureau files also noted

 RATLIFF was previously arrested in 2002 for aggravated assault

 and driving under the influence with a plea of no contest.

 After the plea of no contest, RATLIFF failed to appear for a

 sentencing in April 2003 and a warrant was issued for his

 arrest.    There were additional misdemeanor convictions in 1996

 for narcotics possession and in 1998 for driving under the

 influence of alcohol/drugs.

      19.    The Utah Identification Bureau files also contained an

 arrest record from 2010 connected to the same fingerprints of

 RATLIFF, but using a different name.         The record indicated the

 Subject used the name “John Michael Goodson”, and he was

 arrested for hit and run, driving under the influence, criminal


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 mischief, assault on a police officer, and obstruction of

 justice.    The adjudication was unknown in the document I

 reviewed.   “John Goodsen” is the name provided on the Passport

 Application as the Emergency Contact.

      20.    As part of the passport application, RATLIFF also

 listed a Social Security Number on the application form.               The

 Social Security Administration confirmed the number provided was

 a valid Social Security Number, however the number was not

 assigned to an individual named “Michael John Johannes.”               A

 search of commercial databases revealed the Social Security

 Number was also not connected to RATLIFF.

      21.    On May 23, 2024, I called Yvonne Ratliff.           Yvonne

 Ratliff answered the phone and confirmed that she was indeed

 Yvonne Ratliff.    Yvonne Ratliff then stated that she would hand

 the phone to Kenneth Ratliff.         A person who identified himself

 as Kenneth Ratliff then began speaking and stated he and

 Johannes shared the same mother, but further stated Johannes was

 born in an overseas U.S. territory.          Kenneth Ratliff stated he

 had known Johannes his entire life.          Kenneth Ratliff stated he

 did not know what schools Johannes had attended.             Kenneth

 Ratliff stated he lived together with Johannes for approximately

 one year in California.      Kenneth Ratliff stated he did not know

 where Johannes was currently living, nor did he know Johannes’

 phone number.




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         C.    RATLIFF Runs from Special Agent Who Attempted
               Interview

         22.   On September 11, 2024, DSS Special Agent (“SA”) Mark

 Thornton visited the address RATLIFF listed on his passport

 application for Yvonne Ratliff.         The address was in Tooele,

 Utah.

         23.   SA Thornton knocked on the door, and after about 25

 seconds, a man opened the door.         SA Thornton asked the man if he

 was Kenneth, and the man stated that he wasn’t and started to

 move backwards.     SA Thornton then asked if the man was

 “Michael,” which was the first name listed on the application in

 the name of “Michael John Johannes,” and the man stated that he

 was Michael.     SA Thornton recognized Michael as the same person

 depicted in the passport photograph that was included in Michael

 John Johannes’s passport application.           At that time, SA Thornton

 did not know the man’s true identity as RATLIFF so he addressed

 him as Michael.

         24.   SA Thornton introduced himself, presented his

 government issued credentials, and asked RATLIFF to come out on

 the porch and answer some questions about his passport

 application.     SA Thornton showed RATLIFF the application in the

 name of “Michael John Johannes” and asked if it was his

 application.     RATLIFF stated that he did not want to answer any

 questions because it would just be used against him.                 SA

 Thornton showed him his passport picture that was submitted on

 the passport application and asked if it was him, but RATLIFF

 wouldn’t answer.        RATLIFF said he would not answer any questions



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 because it would be detrimental to the safety of the nation.

 RATLIFF stated that the highest levels of the U.S. government

 and the European Union were working on clarifying his situation.

 RATLIFF stated that anything further could hurt the safety and

 security of the nation.      SA Thornton informed RATLIFF that he

 had a security clearance so RATLIFF could answer.             RATLIFF

 stated that he had no way of checking the clearance at that

 time. RATLIFF stated that SA Thornton should reach out to his

 chain of command as it pertains to RATLIFF and his situation.

 RATLIFF stated that his story wasn’t being portrayed accurately.

 SA Thornton advised RATLIFF that he was there to get his side of

 the story, and that this was RATLIFF’s chance to tell it.                SA

 Thornton asked RATLIFF to get the contact information for

 RATLIFF’s supervisor, and that SA Thornton would reach out to

 them to start figuring out his story.          RATLIFF went into the

 house to get the information.         At that point, SA Thornton

 returned to his government issued vehicle and called 911 to

 request local Tooele Police Department’s assistance.                While

 waiting for an officer to arrive, SA Thornton saw RATLIFF

 running away from residence and heading East towards the

 backyard and a fence line.      SA Thornton did not check the back

 yard until a Tooele Police Department Officer arrived, at which

 time RATLIFF was not located in the back yard.

      25.   SA Thornton approached the house again with a Tooele

 Police Department Officer, and an individual identifying himself

 as Kenneth Ratliff answered the door and provided a driver’s

 license as proof of identity.         Kenneth Ratliff stated “Michael”


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 had left.   Kenneth Ratliff provided a phone number for “Michael”

 as a number with a Utah area code ending in 2037.

      D.     Additional Research Shows JOHANNES May Have Worked for
             a Bank Ordered to Cease and Desist Operating Without
             Authorization

       26. While investigating “Michael John Johannes,” I found a

 California Cease and Desist Order from December 6, 2023,

 ordering Light Bank and Trust to cease and desist from engaging

 in the business of soliciting or receiving deposits or

 transacting business in the way or manner of a bank.               “Michael

 Johannes” is listed as the principal of the entity.                According

 to the order, on or about October 11, 2023, a California

 consumer visited the Light Bank and Trust website and made an

 online inquiry about loan options.         The next day, a person

 identifying himself as “Mike Johannes from Light Bank” called

 the consumer from a phone number with a Utah area code ending in

 2037 (and the same number Kenneth Ratliff provided SA Thornton

 for “Michael”) and left a voicemail message stating that he was

 calling to discussed the consumer’s inquiry about interest rates

 for various loans.      He further stated that the interest rate

 would vary depending on the type of loan and invited the

 consumer to call him back to discuss the loan and request a

 digital application.

       27. The phone number in the California Cease and Desist

 Order matched the phone number provided by Kenneth Ratliff as

 belonging to Michael John Johannes.




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                               V. CONCLUSION

       28. For all of the reasons described above, there is

 probable cause to believe that RATLIFF has committed a violation

 of Title 18, United States Code, Section 1542 (False Statement

 in Application for a Passport).



 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
                   18th day of
 telephone on this ____
 0DUFK 2025.




 HON. SHERI PYM
 UNITED STATES MAGISTRATE JUDGE




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                                                                                    16
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                       UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                               WARRANT FOR ARREST
                                   PLAINTIFF,
                          v.
                                                                    ON COMPLAINT
 JOHN REICH RATLIFF,
                                   DEFENDANT             CASE NO.: 5:25-mj-00137-DUTY

To:    UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

YOU ARE HEREBY COMMANDED to arrest JOHN REICH RATLIFF and bring

him forthwith to the nearest Magistrate Judge to answer a complaint charging him with

False Statement in Application for a Passport, in violation of Title 18 United States Code,

Section 1542.

REC: BY AUSA                   [Detention]

 March 18, 2025
 Date                                                HONORABLE SHERI PYM



                                                     Signature of Magistrate Judge


                                             RETURN
 This warrant was received and executed with the arrest of the above-named defendant at (location):


 DATE RECEIVED        NAME AND TITLE OF ARRESTING                SIGNATURE OF ARRESTING OFFICER
                      OFFICER
 DATE OF ARREST


DESCRIPTIVE INFORMATION FOR DEFENDANT CONTAINED ON PAGE TWO




                                WARRANT FOR ARREST ON COMPLAINT                               Page 1 of 2

                                                                                                            17
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                                  ADDITIONAL DEFENDANT INFORMATION

RACE:              SEX: M        HEIGHT: 508       WEIGHT: 170   HAIR: BRN/GREY   EYES: BLUE     OTHER:


DATE OF BIRTH:                   PLACE OF BIRTH:                 SOCIAL SECURITY NO.:            DRIVER’S        ISSUING


12/11/1975                                                                                       LICENSE NO.     STATE:




ALIASES:                         SCARS, TATTOOS OR OTHER DISTINGUISHING MARKS:


AUTO YEAR:         AUTO MAKE:    AUTO MODEL:                     AUTO COLOR:                     AUTO LICENSE    ISSUING


                                                                                                 NO.:            STATE



LAST KNOWN RESIDENCE:                                            LAST KNOWN EMPLOYMENT:


1598 N. 210 E. Toole, UT 84074


FBI NUMBER:


ADDITIONAL INFORMATION:




INVESTIGATIVE AGENCY NAME:                                       INVESTIGATIVE AGENCY ADDRESS:



Diplomatic Security Service                                      Los Angeles Field Office


NOTES:


                                      Picture of John Reich Ratliff




                                        WARRANT FOR ARREST ON COMPLAINT                                            Page 2 of 2

                                                                                                                                 18
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  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Magistrate Judge Jared C. Bennett
  (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants: FPD/CJA Appointment Notice (utx_appointments@fd.org)
  −−No Notice Sent:

  Message−Id:6097077@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 3/26/2025 at 11:54 AM MDT and filed on 3/26/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 2(No document attached)
  Docket Text:
   ORDER SETTING HEARING OR TRIAL as to John Reich Ratliff.

  Initial Appearance − Rule 5 set for 3/27/2025 at 11:30 AM in Rm 8.400 before Magistrate
  Judge Jared C. Bennett.

  Signed by Magistrate Judge Jared C. Bennett on 3/26/2025.(reb)


  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




                                                                                                     19
Case 2:25-mj-00316-JCB          Document 18       Filed 04/01/25     PageID.59       Page 20 of 47


  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Magistrate Judge Jared C. Bennett
  (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:6098218@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 3/27/2025 at 9:41 AM MDT and filed on 3/27/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 3(No document attached)
  Docket Text:
   AMENDED ORDER SETTING HEARING OR TRIAL as to John Reich Ratliff. Initial
  Appearance − Rule 5 set refor 4/1/2025 at 11:00 AM in Rm 8.400 before Magistrate Judge
  Dustin B. Pead. Signed by Magistrate Judge Jared C. Bennett on 3/27/25.(ksm)


  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




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Case 2:25-mj-00316-JCB       Document 18      Filed 04/01/25    PageID.60      Page 21 of 47




 FELICE JOHN VITI, Acting United States Attorney (#7007)
 CARLOS A. ESQUEDA, Assistant United States Attorney (#5386)
 Attorneys for the United States of America
 111 South Main Street, Suite 1800
 Salt Lake City, Utah 84111
 Telephone: (801) 524-5682
 _______________________________________________________________________

                     IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH
 _______________________________________________________________________

        UNITED STATES OF AMERICA,
                                                 :    2:25-mj-00316 JCB
                             Plaintiff,
                                                 :
               vs.                                    PETITION FOR WRIT OF
                                                 :    HABEAS CORPUS AD
        JOHN REICH RATLIFF,                           PROSEQUENDUM
                                                 :
                             Defendant.
                                                 :




 ________________________________________________________________________

        The United States Attorney for the District of Utah respectfully shows this

 Honorable Court that the above named defendant, now being confined in the Salt Lake

 County Jail (ADC), under the authority of the State of Utah, is to appear in United States

 District Court for the District of Utah before the Honorable Magistrate Judge Dustin Pead

 on the 1st day of April 2025, at 11:00 a.m., in-person appearance on the charges of

 Passport fraud arising out of the Central District of California and appearing on a Rule 5




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Case 2:25-mj-00316-JCB        Document 18       Filed 04/01/25     PageID.61     Page 22 of 47




 hearing and it is necessary that the defendant be present in person on said date, during

 proceedings, appearances, and final disposition of the case; NOW, THEREFORE, your

 petitioner respectfully prays that this Honorable Court do forthwith order a Writ of

 Habeas Corpus Ad Prosequendum to issue from this Court to the Federal Bureau of

 Investigation, United States Marshal for the District of Utah, or any other United States

 Marshal, or Agent thereof, requiring him to serve said Writ on the Warden, or

 Superintendent, or custodian of any place or institution where the said defendant is

 confined, and requiring said agent, to produce said defendant before the Court on the

 above stated date for proceedings and appearances upon the charge aforesaid, and to hold

 the defendant at all times in his custody as an agent of the United States of America until

 final disposition of the case, thereafter to return the defendant to the institution wherein

 now confined.

        DATED this 28th day of March 2025.

                                            FELICE JOHN VITI
                                            United States Attorney


                                            /s/ Carlos A. Esqueda
                                            CARLOS A. ESQUEDA
                                            Assistant United States Attorney




                                                                                                 22
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                                                                                    23
Case 2:25-mj-00316-JCB          Document 18       Filed 04/01/25      PageID.63      Page 24 of 47


  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Magistrate Judge Jared C. Bennett
  (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:6100631@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff Order on Motion for Writ of
  Habeas Corpus ad prosequendum
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 3/28/2025 at 3:48 PM MDT and filed on 3/28/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 5(No document attached)
  Docket Text:
   DOCKET TEXT ORDER granting [4] Motion for Writ of Habeas Corpus ad prosequendum as
  to John Reich Ratliff (1). Signed by Magistrate Judge Jared C. Bennett on 3/28/2025. No
  attached document. (alf)


  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




                                                                                                     24
Case 2:25-mj-00316-JCB        Document 18        Filed 04/01/25   PageID.64     Page 25 of 47




 ________________________________________________________________________


                      IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH

 ________________________________________________________________________

  UNITED STATES OF AMERICA,
                                             :        2:25-mj-00316 JCB
                        Plaintiff,                    WRIT OF HABEAS CORPUS AD
                                             :        PROSEQUENDUM
         vs.
                                             :
  JOHN REICH RATLIFF,
                                             :
                        Defendant.
                                             :

 ________________________________________________________________________

      TO: THE UNITED STATES MARSHAL FOR THE DISTRICT OF UTAH, OR
 TO ANY OTHER UNITED STATES MARSHAL, AND TO ANY AUTHORIZED
 OFFICER IN WHOSE CUSTODY THE DEFENDANT MAY BE HELD:
 GREETINGS:

        We command you that you bring the body of JOHN REICH RATLIFF, now

 confined in the Salt Lake County Jail (ADC), before the Honorable Magistrate Judge

 Dustin Pead, presiding at Salt Lake City, Utah, on the 1st day of April, at 11:00 a.m. in-

 person appearance, of said day, and from day to day thereafter, for purposes of

 arraignment upon the charges pending against the defendant in the said United States

 District Court, and in the above-entitled and pending case; and for final disposition at a

 later date; and hold the said defendant at all times in your custody as an agent of the

 United States of America; that immediately after the conclusion of the proceedings and




                                                                                                25
Case 2:25-mj-00316-JCB        Document 18      Filed 04/01/25     PageID.65     Page 26 of 47




 final disposition of the above-entitled case in the United States District Court, you return

 the defendant to the institution where the defendant was confined, under safe and secure

 conduct, and have you then and there make a return upon this Writ.

        DATED this 28th day of March 2025.

                                            BY THE COURT:


                                            ___________________________________
                                            DUSTIN PEAD
                                            United States Magistrate Judge




                                                                                                26
        Case 2:25-mj-00316-JCB                 Document 18            Filed 04/01/25          PageID.66          Page 27 of 47
 PS3 (09/20-Rev. for PACTS 11/17)                                                                  John Reich Ratliff, / 2:25-00316M-001

In accordance with General Order No. 17-007, in the United States District Court for the District of Utah, Pretrial Services reports are
made available to defense counsel and the government at the defendant’s first court appearance. Pretrial Services Reports are not public
record, are not to be reproduced or disclosed to any other party, and shall remain confidential as provided in Title 18 U.S.C. § 3153(c)(1).

                                               PRETRIAL SERVICES REPORT

  District/Office                                                      Charge(s) (Title, Section, and Description)
  District Of Utah/Salt Lake City                                      Count 1: Title 18 U.S.C. § 1542 - False Statement in
  Judicial Officer                                                     Application for a Passport.
  Honorable Jared C. Bennett
  Magistrate Judge
  Docket Number (Year – Sequence No. – Def. No.)
  2:25-00316M-001


                                                            DEFENDANT

  Name                                                                 Employer
  Ratliff, John Reich                                                  Unknown
  Alias(es)
  Also Known As: Goodson, John
  Also Known As: Goodman, John Reich
  Also Known As: Goodson, John Reich
  Also Known As: Goodson, John M
  Also Known As: Ratliff, John
  Also Known As: Goodson, John Micheal
  Also Known As: Ratliff, John R
  Other alias names listed on the charging document



  Address                                                              Employer Address
  Unknown                                                              Unknown

  Address Since                  Time in Community of Residence        Monthly Income                     Time with Employer
  Unknown                        Unknown                               Unknown                            Unknown


 NATURE AND CIRCUMSTANCES OF THE ALLEGED OFFENSE AND ARREST CONDUCT

 On November 4, 2020, the defendant, purporting to be “Michael John Johannes,” submitted Form DS-11, an
 Application for a U.S. Passport, at the Post Office in Crestline, California. As proof of identity and citizenship
 as “Michael John Johannes,” the defendant presented a U.S. Virgin Islands birth certificate and a U.S. Virgin
 Islands driver’s license. From communications with officials in the U.S. Virgin Islands, it was learned both the
 birth certificate and driver’s license were fraudulent. the defendant applied for the passport at the same time
 Kenneth Ratliff applied for a passport. Kenneth Ratliff and the defendant listed the same mother on their
 applications, Yvonne Reich Ratliff. Kenneth Ratliff presented a Utah driver’s license as part of the application.




 Page 1

                                                                                                                                           27
      Case 2:25-mj-00316-JCB           Document 18       Filed 04/01/25      PageID.67       Page 28 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                 John Reich Ratliff, / 2:25-00316M-001
The defendant is scheduled to appear on April 1, 2025, for an Initial Appearance on a one count Felony
Complaint. He is the only person listed in the complaint.

The defendant was not interviewed in the preparation of this report. U.S. Pretrial Services and the defendant’s
attorney were in contact regarding an interview and if an interview takes place prior to the scheduled hearing, a
verbal supplemental report will be made.

DEFENDANT HISTORY / RESIDENCE / FAMILY TIES:

The defendant, age 49, was born on December 11, 1975, in Washington. As an interview was not conducted
prior to this report being completed, any familial or residential ties the defendant may have to the community
are unknown. Also, Pretrial Services is unaware of any meaningful employment or pro-social engagement.

The defendant’s current marital status is unknown.

It is unknown if the defendant possesses a passport or has travelled and lived outside of the United States.

EMPLOYMENT HISTORY / FINANCIAL RESOURCES:

There is no known employment for the defendant at this time.

EDUCATION HISTORY:

The defendant’s highest level of education is unknown.

HEALTH:

Physical Health:

The current status of the defendant’s physical health is unknown.

Mental Health and Substance Abuse:

The current status of the defendant’s mental health and substance abuse history is unknown.

PRIOR RECORD:

A criminal record check conducted through the National Crime Information Center (NCIC), state, and local
records revealed the following arrest history.

 Date of
 Arrest              Agency                          Charge                        Disposition

 12/02/1994          Third District Court - Salt     Ct. 1: Reckless Driving,      02/06/1995: Warrant issued,
 (Age 18)            Lake; Salt Lake City, UT;       Class B Misd.                 fail to appear
                     Case No.: 945035579             Ct. 2: Operate Vehicle        04/05/1995: Warrant recalled,
                                                     Without Insurance, Class B    Defendant booked
                                                     Misd.                         04/05/1994: Cts. 1-3: guilty;
                                                     Ct. 3: Drive on Suspension,   Ct. 2: dismissed; fine
                                                     Class C Misd.                 03/14/1996: Warrant issued,
                                                     Ct. 4: License Plate          fail to appear
                                                                                   04/16/1996: Warrant recalled,
Page 2

                                                                                                                     28
      Case 2:25-mj-00316-JCB           Document 18      Filed 04/01/25     PageID.68           Page 29 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                   John Reich Ratliff, / 2:25-00316M-001

                                                    Violation, Class C Misd.         defendant booked
                                                                                     06/04/1996: Case closed
 The defendant was represented by counsel.



 12/11/1994          Third District Court - Salt    Ct. 1 Registration Expired,      12/21/1994: Cts. 1-2: guilty;
 (Age 19)            Lake; Salt Lake City, UT;      Infraction                       fine
                     Case No.: 941021152            Ct. 2: Possession of             03/24/1995: Case closed
                                                    Controlled Substances,
                                                    Class B Misd.
 The defendant was represented by counsel.



 01/27/1996          North Park Police              Ct. 1: Littering, Misd.          Unknown
 (Age 20)            Department; North Park, UT;    Ct. 2: Narcotic Possession,
                     Case No.: Unknown              Misd.
                                                    Ct. 3: Marijuana
                                                    Possession, Misd.
 Attorney representation is unknown.



 03/24/1998          First District Court - Cache   Ct. 1: Fail to Stop at           06/23/1998: Cts. 1-2: guilty
 (Age 22)            County; Logan, UT;             Command of Police                CT. 1: amended; Cts. 3-5:
                     Case No.: 981100207            Officer, Third Degree            dismissed
                                                    Ct. 2: Driving Under the         09/21/1998: 18 months jail;
                                                    Influence of Drugs, Class        fine;
                                                    B Misd.
                                                    Ct. 3: Right of Way Stop
                                                    Sign, Class C Misd.
                                                    Ct. 4: Speeding, Class C
                                                    Misd.
                                                    Ct. 5. Operating Vehicle
                                                    Without Insurance, Class B
                                                    Misd.
 Attorney representation is unknown.



 07/17/2002          First District Court - Cache   Ct. 1: Aggravated Assault,       01/10/2003: Cts. 1-2: guilty;
 (Age 26)            County; Logan, UT;             Third Degree Felony, Class       Ct. 1: amended; Cts. 3-5:
                     Case No.: 021100547            A Misd.                          dismissed
                                                    Ct. 2: Driving Under the         04/15/2003: Warrant issued,
                                                    Influence of Drugs, Class        fail to appear
                                                    B Misd.                          02/03/2016: Warrant recalled
                                                    Ct. 3: Fail to Remain at the     by the court
                                                    Scene of Accident, Class B       04/25/2016: 365 days jail, 180
                                                    Misd.                            suspended; 36 months
Page 3

                                                                                                                       29
      Case 2:25-mj-00316-JCB           Document 18       Filed 04/01/25     PageID.69           Page 30 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                    John Reich Ratliff, / 2:25-00316M-001

                                                     Ct. 4: Right of Way Stop         probation
                                                     Sign, Class C Misd.              11/23/2016: Warrant issued,
                                                     Ct. 5: Drive on Wrong side       fail to comply
                                                     of the Roadway, Class C
                                                     Misd.                            Warrant still active
 The defendant was represented by counsel.



 05/24/2010          Unified Police Department of    Ct. 1: Obstruction of            Unknown
 (Age 34)            Greater Salt Lake; West         Justice, Misd.
                     Valley City, UT;                Ct. 2: Hit and Run, Misd.
                     Case No.: Unknown               Ct. 3: Driving Under the
                                                     Influence
                                                     Ct. 4: Criminal Mischief,
                                                     Misd.
                                                     Ct. 5: Assault on Police
                                                     Officer, Misd.
 Attorney representation is unknown.



 01/25/2016          First District Court - Cache    Ct. 1: Possess Forgery           03/14/2016: Cts. 1, 3-4: guilty;
 (Age 40)            County; Logan, UT;              Writing Device, Third            Cts. 2, 5: dismissed
                     Case No.: 161100083             Degree Felony                    04/25/2016: 5 years prison;
                                                     Ct. 2: Assault by Prisoner,      365 days jail; fine; 36 months
                                                     Third Degree Felony              probation
                                                     Ct. 3: Interference with         11/23/2016: Warrant issued,
                                                     Arresting Officer, Class B       fail to comply
                                                     Misd.
                                                     Ct. 4: Failure to Disclose       Warrant still active
                                                     Identity, Class B Misd.
                                                     Ct. 5: Intoxication, Class C
                                                     Misd.
 The defendant was represented by counsel.



Traffic Citations

The defendant has received multiple traffic citations.

PRESUMPTION OF DETENTION: In accordance with General Order 17-007, and as permitted in Guide
Vol 8A, § 170(e), the Court directs that a Pretrial Services Report shall address rebuttable presumptions and
potential penalties. A presumption of detention does not apply. The charged offense appears not to be one listed
under 18 U.S.C. § 3142(e)(3).



ASSESSMENT OF NONAPPEARANCE:
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                                                                                                                        30
        Case 2:25-mj-00316-JCB                 Document 18       Filed 04/01/25       PageID.70       Page 31 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                          John Reich Ratliff, / 2:25-00316M-001
The defendant poses a risk of nonappearance for the following reasons:

     1. Criminal History Including Record of Failure to Appear
     2. Criminal Activity while under Supervision
     3. History of Failure to Appear

ASSESSMENT OF DANGER:

The defendant poses a risk of danger for the following reasons:

     1. Violent Behavior History
     2. Criminal Activity while under Supervision
     3. Pattern of Similar Criminal Activity History

Pretrial Risk Assessment (PTRA): The PTRA is an objective, quantifiable instrument that provides a
consistent and valid method of predicting risk of failure to appear, new criminal arrest, and technical violations
while on pretrial release.

The defendant’s PTRA Risk Score is 6 which falls within Category 2.

Out of a sample size of 181,739 defendants, 29% fell within Category 2, which predicts that 3% will Fail to
Appear, 3% will have a New Criminal Arrest, 5% will either Fail To Appear or have a New Criminal Arrest,
4% will commit Technical Violations, and 9% will have either a Failure to Appear, New Criminal Arrest, or
Technical Violation.

The outcomes for the full sample are represented in the table below.

     Risk           Number     Percentage       Risk Score   Failure To     New         Failure to     Technical     Failure to
   Category         of Cases   of Total # of                  Appear      Criminal     Appear/New      Violation      Appear/
                                  Cases                                    Arrest       Criminal                    New Criminal
                                                                                         Arrest                        Arrest/
                                                                                                                     Technical
                                                                                                                      Violation
  Category 1         52,677       29%              0-4          1%          1%             2%             1%            3%
  Category 2         52,653        29%             5-6          3%          3%             5%             4%              9%
  Category 3         49,920       27%              7-8          4%          5%            10%             9%             18%
  Category 4         21,779        12%            9-10          6%          7%            15%            15%             28%
  Category 5         4,710         3%              11+          6%          10%           20%            19%             35%
Total # of Cases    181,739    100%      The percentage of cases count to have committed a Failure to Appear, New Criminal Arrest,
                                         or Technical Violation for each Risk Category based on the total number of cases in that
                                         category.



  Pretrial Services Officer                                                    Date                    Time
  Eli Ernest                                                                   April 1, 2025           7:36 AM
  U.S. Probation Officer
  Reviewed By
  Zachary C. McBride
  Supervisory U.S. Probation Officer


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                                                                                                                               31
      Case 2:25-mj-00316-JCB          Document 18        Filed 04/01/25     PageID.71        Page 32 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                 John Reich Ratliff, / 2:25-00316M-001



I acknowledge that in accordance with General Order 17-007, in the United States District Court for the District
of Utah, defense counsel and the attorney for the government may retain this criminal history attachment of the
Pretrial Services Report, and permit staff to review it for purposes of case preparation and guideline calculation
estimates. The Court has authorized the U.S. Probation Office for the District of Utah to disclose the criminal
history information. It should not be reproduced or re-disclosed under any circumstances. The criminal history
information below is the result of a preliminary investigation and is not to be considered complete and entirely
accurate at this time. The U.S. Probation Office is not authorized to discuss the information contained in this
section with the parties.




__________________________________                           ___________________________________
Assistant U.S. Attorney                                      Defense Counsel




___________________________________
U.S. Probation Officer




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                                                                                                                     32
      Case 2:25-mj-00316-JCB           Document 18      Filed 04/01/25      PageID.72         Page 33 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                  John Reich Ratliff, / 2:25-00316M-001


In accordance with General Order 17-007, in the United States District Court for the District of Utah, defense
counsel and the attorney for the government may retain this criminal history attachment of the Pretrial Services
Report, and permit staff to review it for purposes of case preparation and guideline calculation estimates. The
Court has authorized the U.S. Probation Office for the District of Utah to disclose the criminal history
information. It should not be reproduced or re-disclosed under any circumstances. The criminal history
information below is the result of a preliminary investigation and is not to be considered complete and entirely
accurate at this time. The U.S. Probation Office is not authorized to discuss the information contained in this
section with the parties.

PRIOR RECORD:

The defendant reported. A criminal record check conducted through the National Crime Information Center
(NCIC), state, and local records revealed the following arrest history.

 Date of
 Arrest              Agency                         Charge                          Disposition

 12/02/1994          Third District Court - Salt    Ct. 1: Reckless Driving,        02/06/1995: Warrant issued,
 (Age 18)            Lake; Salt Lake City, UT;      Class B Misd.                   fail to appear
                     Case No.: 945035579            Ct. 2: Operate Vehicle          04/05/1995: Warrant recalled,
                                                    Without Insurance, Class B      Defendant booked
                                                    Misd.                           04/05/1994: Cts. 1-3: guilty;
                                                    Ct. 3: Drive on Suspension,     Ct. 2: dismissed; fine
                                                    Class C Misd.                   03/14/1996: Warrant issued,
                                                    Ct. 4: License Plate            fail to appear
                                                    Violation, Class C Misd.        04/16/1996: Warrant recalled,
                                                                                    defendant booked
                                                                                    06/04/1996: Case closed
 The defendant was represented by counsel.




 12/11/1994          Third District Court - Salt    Ct. 1 Registration Expired,     12/21/1994: Cts. 1-2: guilty;
 (Age 19)            Lake; Salt Lake City, UT;      Infraction                      fine
                     Case No.: 941021152            Ct. 2: Possession of            03/24/1995: Case closed
                                                    Controlled Substances,
                                                    Class B Misd.

 The defendant was represented by counsel.




 01/27/1996          North Park Police              Ct. 1: Littering, Misd.         Unknown
 (Age 20)            Department; North Park, UT;    Ct. 2: Narcotic Possession,
                     Case No.: Unknown              Misd.
                                                    Ct. 3: Marijuana

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                                                                                                                      33
      Case 2:25-mj-00316-JCB           Document 18      Filed 04/01/25     PageID.73           Page 34 of 47
PS3 (09/20-Rev. for PACTS 11/17)                                                   John Reich Ratliff, / 2:25-00316M-001

                                                    Possession, Misd.

 Attorney representation is unknown.




 03/24/1998          First District Court - Cache   Ct. 1: Fail to Stop at           06/23/1998: Cts. 1-2: guilty
 (Age 22)            County; Logan, UT;             Command of Police                CT. 1: amended; Cts. 3-5:
                     Case No.: 981100207            Officer, Third Degree            dismissed
                                                    Ct. 2: Driving Under the         09/21/1998: 18 months jail;
                                                    Influence of Drugs, Class        fine;
                                                    B Misd.
                                                    Ct. 3: Right of Way Stop
                                                    Sign, Class C Misd.
                                                    Ct. 4: Speeding, Class C
                                                    Misd.
                                                    Ct. 5. Operating Vehicle
                                                    Without Insurance, Class B
                                                    Misd.

 Attorney representation is unknown.




 07/17/2002          First District Court - Cache   Ct. 1: Aggravated Assault,       01/10/2003: Cts. 1-2: guilty;
 (Age 26)            County; Logan, UT;             Third Degree Felony, Class       Ct. 1: amended; Cts. 3-5:
                     Case No.: 021100547            A Misd.                          dismissed
                                                    Ct. 2: Driving Under the         04/15/2003: Warrant issued,
                                                    Influence of Drugs, Class        fail to appear
                                                    B Misd.                          02/03/2016: Warrant recalled
                                                    Ct. 3: Fail to Remain at the     by the court
                                                    Scene of Accident, Class B       04/25/2016: 365 days jail, 180
                                                    Misd.                            suspended; 36 months
                                                    Ct. 4: Right of Way Stop         probation
                                                    Sign, Class C Misd.              11/23/2016: Warrant issued,
                                                    Ct. 5: Drive on Wrong side       fail to comply
                                                    of the Roadway, Class C
                                                    Misd.                            Warrant still active

 The defendant was represented by counsel.




 05/24/2010          Unified Police Department of   Ct. 1: Obstruction of            Unknown
 (Age 34)            Greater Salt Lake; West        Justice, Misd.
                     Valley City, UT;               Ct. 2: Hit and Run, Misd.
                     Case No.: Unknown              Ct. 3: Driving Under the
Page 10

                                                                                                                       34
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PS3 (09/20-Rev. for PACTS 11/17)                                                   John Reich Ratliff, / 2:25-00316M-001

                                                    Influence
                                                    Ct. 4: Criminal Mischief,
                                                    Misd.
                                                    Ct. 5: Assault on Police
                                                    Officer, Misd.

 Attorney representation is unknown.




 01/25/2016          First District Court - Cache   Ct. 1: Possess Forgery           03/14/2016: Cts. 1, 3-4: guilty;
 (Age 40)            County; Logan, UT;             Writing Device, Third            Cts. 2, 5: dismissed
                     Case No.: 161100083            Degree Felony                    04/25/2016: 5 years prison;
                                                    Ct. 2: Assault by Prisoner,      365 days jail; fine; 36 months
                                                    Third Degree Felony              probation
                                                    Ct. 3: Interference with         11/23/2016: Warrant issued,
                                                    Arresting Officer, Class B       fail to comply
                                                    Misd.
                                                    Ct. 4: Failure to Disclose
                                                    Identity, Class B Misd.
                                                    Ct. 5: Intoxication, Class C
                                                    Misd.

 The defendant was represented by counsel.




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                                                                                                                       35
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 FELICE JOHN VITI, Acting United States Attorney (#7007)
 CARLOS A. ESQUEDA, Assistant United States Attorney (#5386)
 Attorneys for the United States of America
 111 South Main Street, Suite 1800
 Salt Lake City, Utah 84111
 Telephone: (801) 524-5682
 _______________________________________________________________________

                      IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH
 _______________________________________________________________________

        UNITED STATES OF AMERICA,
                                                  :    2:25mj316
                             Plaintiff,
                                                  :
               vs.                                     PETITION FOR WRIT OF
                                                  :    HABEAS CORPUS AD
        JOHN REICH RATLIFF,                            PROSEQUENDUM
                                                  :
                             Defendant.
                                                  :




 ________________________________________________________________________

        The United States Attorney for the District of Utah respectfully shows this

 Honorable Court that the above named defendant, now being confined in the Cache

 County Jail, under the authority of the State of Utah, is to appear in United States District

 Court for the District of Utah before the Honorable Magistrate Judge Dustin Pead on the

 1st day of April 2025, at 11:00 a.m., in-person appearance on the charges of Passport

 fraud arising out of the Central District of California and appearing on a Rule 5 hearing




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 and it is necessary that the defendant be present in person on said date, during

 proceedings, appearances, and final disposition of the case; NOW, THEREFORE, your

 petitioner respectfully prays that this Honorable Court do forthwith order a Writ of

 Habeas Corpus Ad Prosequendum to issue from this Court to the Federal Bureau of

 Investigation, United States Marshal for the District of Utah, or any other United States

 Marshal, or Agent thereof, requiring him to serve said Writ on the Warden, or

 Superintendent, or custodian of any place or institution where the said defendant is

 confined, and requiring said agent, to produce said defendant before the Court on the

 above stated date for proceedings and appearances upon the charge aforesaid, and to hold

 the defendant at all times in his custody as an agent of the United States of America until

 final disposition of the case, thereafter to return the defendant to the institution wherein

 now confined.

        DATED this 31st day of March 2025.

                                            FELICE JOHN VITI
                                            United States Attorney


                                            /s/ Carlos A. Esqueda
                                            CARLOS A. ESQUEDA
                                            Assistant United States Attorney




                                                                                                 37
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                                                                                    38
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  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Magistrate Judge Jared C. Bennett
  (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:6103068@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff Order on Motion for Writ of
  Habeas Corpus ad prosequendum
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 4/1/2025 at 10:12 AM MDT and filed on 3/31/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 10(No document attached)
  Docket Text:
   DOCKET TEXT ORDER granting [9] Motion for Writ of Habeas Corpus ad prosequendum as
  to John Reich Ratliff (1). Signed by Magistrate Judge Jared C. Bennett on 3/31/2025. No
  attached document. (alf)


  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




                                                                                                     39
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 ________________________________________________________________________


                      IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH

 ________________________________________________________________________

  UNITED STATES OF AMERICA,
                                             :        2:25mj316 JCB
                        Plaintiff,                    WRIT OF HABEAS CORPUS AD
                                             :        PROSEQUENDUM
         vs.
                                             :
  JOHN REICH RATLIFF,
                                             :
                        Defendant.
                                             :

 ________________________________________________________________________

      TO: THE UNITED STATES MARSHAL FOR THE DISTRICT OF UTAH, OR
 TO ANY OTHER UNITED STATES MARSHAL, AND TO ANY AUTHORIZED
 OFFICER IN WHOSE CUSTODY THE DEFENDANT MAY BE HELD:
 GREETINGS:

        We command you that you bring the body of JOHN REICH RATLIFF, now

 confined in the Cache County Jail, before the Honorable Magistrate Judge Dustin Pead,

 presiding at Salt Lake City, Utah, on the 1st day of April, at 11:00 a.m. in-person

 appearance, of said day, and from day to day thereafter, for purposes of arraignment upon

 the charges pending against the defendant in the said United States District Court, and in

 the above-entitled and pending case; and for final disposition at a later date; and hold the

 said defendant at all times in your custody as an agent of the United States of America;

 that immediately after the conclusion of the proceedings and final disposition of the




                                                                                                40
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 above-entitled case in the United States District Court, you return the defendant to the

 institution where the defendant was confined, under safe and secure conduct, and have

 you then and there make a return upon this Writ.

        DATED this 31st day of March 2025.

                                           BY THE COURT:


                                           ___________________________________
                                           DUSTIN PEAD
                                           United States Magistrate Judge




                                                                                               41
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  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Nathan K. Phelps (geri_wynhof@fd.org,
  nathan_phelps@fd.org), Magistrate Judge Jared C. Bennett (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants: Probation Office − Pretrial (utp_pts_ecfnotice@utp.uscourts.gov),
  US Marshals Office − Criminal Desk (emily.hill2@usdoj.gov, peter.mclaughlin@usdoj.gov,
  slcusm.cellblock@usdoj.gov, tesha.hewlett@usdoj.gov)
  −−No Notice Sent:

  Message−Id:6103707@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff Initial Appearance − Rule 5/5.1
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                               US District Court Electronic Case Filing System

                                                District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 4/1/2025 at 2:47 PM MDT and filed on 4/1/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 12(No document attached)
  Docket Text:
   Minute Entry for proceedings held before Magistrate Judge Dustin B. Pead: Initial
  Appearance in Rule 5/5.1 Proceedings as to John Reich Ratliff held on 4/1/2025. Defendant
  present with counsel and in custody. Rights and penalties are explained. Defendant moves
  for counsel be appointed. Financial affidavit submitted and reviewed by the Court. The Court
  grants the motion and appoints FPD counsel, Nathan Phelps. Waiver of Identity Hearing is
  entered on the record. Defendant submits to the issue of detention for resolution in the
  charging district. For the reasons stated on the record, the Court orders defendant detained
  in USMS custody for transportation to the Central District of California.

  Attorney for Plaintiff: Carlos Esqueda, Attorney for Defendant: Nathan Phelps, FPD. Interpreter: Not Needed.
  Probation Officer: Eli Ernst. Recording: Electronic. (Time Start: 11:05:22, Time End: 11:08:46, Room 8.400).
  (tls)
  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  Nathan K. Phelps    nathan_phelps@fd.org, geri_wynhof@fd.org

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:



                                                                                                             42
Case 2:25-mj-00316-JCB          Document 18       Filed 04/01/25      PageID.82       Page 43 of 47


  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Nathan K. Phelps (geri_wynhof@fd.org, nathan_phelps@fd.org), Carlos
  A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov), Magistrate Judge Jared C. Bennett
  (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:6103709@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff Motion to Appoint Counsel
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 4/1/2025 at 2:47 PM MDT and filed on 4/1/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:           Dft No. 1 − John Reich Ratliff
  Document Number: 13(No document attached)
  Docket Text:
  Oral MOTION to Appoint Counsel filed by John Reich Ratliff. (tls)


  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  Nathan K. Phelps   nathan_phelps@fd.org, geri_wynhof@fd.org

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




                                                                                                      43
Case 2:25-mj-00316-JCB          Document 18       Filed 04/01/25      PageID.83       Page 44 of 47


  MIME−Version:1.0
  From:utd_enotice@utd.uscourts.gov
  To:ecf_notice@localhost.localdomain
  Bcc:
  −−Case Participants: Carlos A. Esqueda (carlos.esqueda@usdoj.gov, caseview.ecf@usdoj.gov,
  erica.arvizo@usdoj.gov, jennifer.salt@usdoj.gov), Nathan K. Phelps (geri_wynhof@fd.org,
  nathan_phelps@fd.org), Magistrate Judge Jared C. Bennett (utdecf_bennett@utd.uscourts.gov)
  −−Non Case Participants: Finance Department (utdecf_forders@utd.uscourts.gov)
  −−No Notice Sent:

  Message−Id:6103717@utd.uscourts.gov
  Subject:Activity in Case 2:25−mj−00316−JCB USA v. Ratliff Order on Motion to Appoint
  Counsel
  Content−Type: text/html

  If you need assistance, call the Help Desk at (801)524−6100.

                              US District Court Electronic Case Filing System

                                              District of Utah

  Notice of Electronic Filing


  The following transaction was entered on 4/1/2025 at 2:49 PM MDT and filed on 4/1/2025

  Case Name:       USA v. Ratliff
  Case Number:     2:25−mj−00316−JCB
  Filer:
  Document Number: 14(No document attached)
  Docket Text:
   DOCKET TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to John Reich Ratliff
  Nathan K. Phelps for John Reich Ratliff appointed. No attached document.

  Representation shall continue for any post−sentencing activities initiated by the US
  Probation Office.

  Signed by Magistrate Judge Dustin B. Pead on 04/01/2025. (tls)
  2:25−mj−00316−JCB−1 Notice has been electronically mailed to:

  Carlos A. Esqueda carlos.esqueda@usdoj.gov, CaseView.ECF@usdoj.gov, erica.arvizo@usdoj.gov,
  jennifer.salt@usdoj.gov

  Nathan K. Phelps   nathan_phelps@fd.org, geri_wynhof@fd.org

  2:25−mj−00316−JCB−1 Notice has been delivered by other means to:




                                                                                                      44
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                                                                                    45
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                                                                                    46
        Case 2:25-mj-00316-JCB                      Document 18           Filed 04/01/25      PageID.86             Page 47 of 47
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Utah

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No. 2:25-mj-00316 JCB
                                                                      )
                     John Reich Ratliff                               )         Charging District’s
                        Defendant                                     )         Case No. 5:25-mj-137 DUTY

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                    District of             California     ,
(if applicable)    Central                            division. The defendant may need an interpreter for this language:
N/A                                                             .

          The defendant: ☐ will retain an attorney.
                                ☒ is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

        IT IS ORDERED: The United States Marshal must transport the defendant, together with a copy of
this order, to the charging district and deliver the defendant to the United States Marshal for that district, or to
another officer authorized to receive the defendant. The marshal or officer in the charging district should
immediately notify the United States attorney and the clerk of court for that district of the defendant’s arrival
so that further proceedings may be promptly scheduled. The clerk of this district must promptly transmit the
papers and any bail to the charging district.



Date:              04/01/2025
                                                                                             Judge’s signature

                                                                          Dustin B. Pead, Chief United States Magistrate Judge
                                                                                           Printed name and title




                                                                                                                                        47
